    Case 2:18-cv-01380-GGG-JVM Document 287-2 Filed 09/20/19 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


THE MCDONNEL GROUP, LLC                            CASE NO. 2:18-cv-01380-GGG-JVM
                                                   c/w 19-2227; 19-2230; 19-10462
VERSUS
                                                   SECTION: T
STARR SURPLUS LINES INSURANCE
COMPANY                                            DIVISION: 1

                                                   JUDGE: GREG GUIDRY

                                                   MAGISTRATE JUDGE: JANIS VAN
                                                   MEERVELD
                                                   (Applies to: ALL CASES)

                                              ORDER

       Considering the foregoing Joint Motion Plaintiffs, The McDonnel Group, LLC, The Jung,

L.L.C., Mechanical Construction Company, L.L.C. n/k/a Bernhard MCC, LLC, All Star Electric,

Inc., and Defendants, Starr Surplus Lines Insurance Company and Lexington Insurance Company

to Reset Trial Date and Pretrial Deadlines,

       IT IS HEREBY ORDERED that said motion is hereby GRANTED.

       1. IT IS FURTHER ORDERED that the jury trial scheduled for January 27, 2020 is

           hereby continued and shall be reset for March 9, 2020.

       2. IT IS FURTHER ORDERED that the following pretrial deadlines are hereby set:

            Written reports of experts, as defined by November 1, 2019
            Federal Rules of Civil Procedure
            26(a)(2)(B), who may be witnesses for
            Plaintiffs
            Written reports of experts, as defined by December 3, 2019
            Federal Rules of Civil Procedure
            26(a)(2)(B), who may be witnesses for
            Defendants
            A list of all witnesses who may or will be December 6, 2019
            called to testify at trial and a list of all
            exhibits which may or will be used at trial
Case 2:18-cv-01380-GGG-JVM Document 287-2 Filed 09/20/19 Page 2 of 2



      Depositions for trial use shall be taken    December 31, 2019
      and all discovery completed
      Filing of non-evidentiary pretrial          February 4, 2020 (for submission to
      motions, including motions in limine        the Court on February 19, 2020)
      regarding the qualifications of expert
      witnesses
      Filing of all other motions in limine       February 18, 2020 (for submission to
                                                  the Court on March 4, 2020)


  3. IT IS FURTHER ORDERED that a final pretrial conference previously set for

     January 9, 2020 is hereby CONTINUED and shall be reset for February 20, 2020 at

     2:30 p.m. Counsel will be prepared in accordance with the final Pretrial Notice

     attached hereto as Exhibit 1. Notwithstanding the attached Pretrial Notice,

     pretrial orders are to be filed electronically by 4:30 p.m. on a day that allows one

     full work day prior to the conference, excluding Saturdays, Sundays and holidays

     (i.e., if the conference is set for 10:00 a.m. Friday, it must be filed electronically by

     4:30 p.m. Wednesday. If the conference is set on Monday, the pre-trial order must

     be filed electronically on Thursday by 4:30 p.m.). THE PRETRIAL ORDER

     SUBMITTED TO THE COURT MUST BE DOUBLE SPACED AND SIGNED

     BY ALL COUNSEL.

  4. IT IS FURTHER ORDERED that the parties shall contact the Chambers of United

     States Magistrate Judge van Meerveld to schedule a settlement conference on or about

     30 days prior to the March 9, 2020 trial date.



  New Orleans, Louisiana this ____ day of September, 2019



                                               ___________________________________
                                               UNITED STATES DISTRICT JUDGE

                                          2
